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CIVIL COVER SHEET

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The JS 44 civil cover sheet and the information contained herein oeith
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provided by local rules of court.
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purpose of initiating the civil doc

I. (a) PLAINTIFFS

MlKAL HODGE AND NAK|SHA HODGE, HIW

(b) coumy ofR¢sidence ufFirst Lisu=d mainan PH|LA
{EXGEPTIN US. PLAIMTFF CHSE.S)

(C) AftOTn€ys (Firm Nam¢, Addru.v, and T¢Iephane Number)

NlCHOLAS L. PALAZZO,

ESQU|RE

2541 S. BROAD STREET, PH|LA., PA 19148; 215-551-9099

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erence of the mted States in eptember 1974, ls required for the use of the

and service of pleadings or other papers as reguired by law, except as

lerk ofcourt for the

DEFENDANTS

THE UN|TED STATES OF AMER|CA
615 CHESTNUT STREET, SU|TE 1250, PH|LA. PA 19106

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VI. CAUSE OF ACTION

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Appellate Court

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Cite the U.S. Civil Statute under which you are filing (Do notc!rejurisdicdondmru:¢s unless diversity):

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Litigation -
Direct File

 

 

Brief description of cause:
MOTOR VEH|CLE ACC|DENT

 

 

 

 

 

 

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COMPLAINT: UNDER RULE 23, F.R.Cv-Pl 250,000.00 JURY DEMANn: g Yes IJNO

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R.ECEJPT # AMOUNT APPLY]NG IFP ]UDGE MAG. JUDGE

 

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

MIKAL HODGE AND
NAKISHA HODGE, h/w

VS.

THE UNITED STATES OF AMERICA
615 Chestnut Street, Suite 1250
Philadelphia, PA 19106

 

COMPLAINT IN CIVIL ACTION - PREMISES LIABILITY

PARTIES TO THE CASE

 

l. Plaintiffs sre husband and Wife and adult individuals residing at547 S Redfield
Street Philadelphia, PA 19143.

2. Defendant, United States of America, is the Federal Government which can
be served at the addresses listed above and at all times material hereto was the owner of and
employed the operator of a certain Amtrak motor Vehicle which Was involved in the
accident hereinafter described

3. At all times material hereto, the United States of America Was acting by and
through its employees, agents and work persons, specificallv, Amtrak employee, Robert
Baxter ]r., Who was driving and operating the vehicle that struck Plaintiff, Mikal Hodge as
more fully set forth below.

4. The Defendant, United States of America is to be served at the following
addresses: Attorney General Loretta Lvnch, U.S. Departrnent of ]ustice, 950 Pennsylvania

Avenue, NW, Washington, DC 20530-0001, AI l N: Service Process Clerk; and to Zane

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David Memeger, United States Attorney for the Eastern District of Pennsylvania, U.S.
Attorney's Office, 615 Chestnut Street, Suite 1250, Philadelphia, PA 19106, AT`[`N:

Service Process Clerk.

|URISDICTION AND VENUE

5. jurisdiction of this Court is based upon 28 U.S. C. Section 1346(b)(1) and 28
U.S.C. Section 2674.

6. This Court has proper venue pursuant to 28 U.S.C. Section 1402(b).

FACTS OF THE CASE

7. On or about February 18th 2016 Plaintiff Mikal Hodge was in Philadelphia at
a Sunoco Gas Station when his vehicle Was struck by an Amtrak vehicle driven by Robert
Baxter, ]r. Mr. Baxter negligently reversed his vehicle into the front of Mr. Hodge’s vehicle
causing damage to both vehicles and causing Mr. Hodge to sustain injuries as further
detailed below.

8. Plaintiffs have attempted to negotiate the claim with Defendant’s claim
processor, Broadspire, however, the parties could not come to an agreement In this regard,
Plaintiffs have exhausted all administrative remedies available to them.

COUNT I - NEGLIGENCE
PLAINTIFF. MIKAL HODGE VS. DEFENDANT

9. Plaintiffs hereby incorporates all preceding paragraphs, inclusively, as if fully

ser forth at length.

10. Defendant’s negligence consisted of the following: ( l ) failing to yield to trach

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With the right of way, (2) reversing without ensuring that it was safe to do so, (3) failing to
abide by the assured and clear distance ahead rule, (4) reversing without looking, (5)
traveling at an unreasonable speed under the circumstances

11. At all times material the vehicle that caused the accident in question was not
registered in the Commonwealth of Pennsylvania thereby establishing Plaintiff, Hodge as
full tort pursuant to the PA Motor Vehicle Code.

12. As a direct and proximate result of Defendant’s aforesaid negligence,
Defendant, directly and proximately caused Plaintiff suffer serious and painful inj uries, some
of which are permanent in nature and which include but are not limited to the following:
sprains and strains in his spine, head injury, and a herniated disc in his spine requiring
pain management intervention and care.

13. As a direct and proximate result of the negligence and carelessness of
Defendant, Plaintiff has been and may continue to be obliged to receive and undergo
medical attention and care and to incur various expenses for the injuries he has suffered for
an indefinite time in the future.

14. As a direct and proximate result of the negligence and carelessness of
Defendant, Plaintiff, has suffered severe physical pain and mental anguish and may
continue same for an indefinite time in the future.

15. As a direct and proximate result of the negligence and carelessness of
Defendant, Plaintiff, has been prevented from attending to his usual duties and daily

activities and verin believes that he may be prevented from same for an indefinite time in

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the future.

16. As a direct and proximate result of the negligence and carelessness of
Defendant, Plaintiff, has been prevented from attending to his usual duties and may have
been caused to suffer a loss of wages and may be likely to suffer future loss of wages and has
suffered a loss in his earning capacity.

WHEREFORE, Plaintiff, Mikal Hodge prays for judgment in his favor and against
Defendant for a sum in excess of One Hundred and Fifty Thousand ($150,000.00) Dollars
plus costs.

COUNT II - LOSS OF CONSORTIUM
PLAINTIFF, NAKISHA HODGE VS. UNITED STATES OF AMERICA

17. Plaintiff incorporates all preceding paragraphs as though fully set forth at
length herein.

18. At the time of the accident in question Plaintiffs were married.

19. As a direct and proximate result of the negligence of Defendant, Plaintiff
]oseph Burke was caused to suffer a loss of consortium, affection, assistance and

companionship of his wife all to his great detriment and loss.

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WHEREFORE, Plaintiff, NAKISHA HODGE prays for judgment in her favor
and against Defendant, City of Philadelphia, joint and/or severally for a sum in excess of
One Hundred and Fifty Thousand ($150,000.00) Dollars plus costs.

Respectfully Submitted,

///MWM

DATED= 8/10/17 Nlc':HoLAs L. PALAzzo, EsQ 'IR"E'
Attorney for Plaintiff
2541 S. Broad Street
Philadelphia, PA 19148
215.551.9099
215.551-4099

npalazzo@definolamers.com

 

 

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VERIFICATION

l, MIKAL HODGE, the Plaintiff, herein Verify that the facts contained in the
attached Complaint in Civil Action are true and correct to the best of my knowledge,

information and belief; and I realize that statements made herein are subject to the

penalties of 18 Pa. C.S. § 4904, relating to unsworn falsification to authorities.

 

